27 F.3d 562
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George F. BOATWRIGHT, III, Plaintiff Appellant,v.George JEFFERSON, Master in Equity;  Weston Adams;  J.I.Kislak Mortgage Corporation, Defendants Appellees.
    No. 93-2454.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 24, 1994.Decided June 8, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Matthew J. Perry, Jr., District Judge.  (CA-93-2-3-OBD)
      George F. Boatwright, III, appellant pro se.
      Patrick John Frawley, Bouknight, Nicholson, Davis, Frawley &amp; Anderson, Lexington, S.C.;   Charles Elford Carpenter, Jr., Deborah Harrison Sheffield, Michael A. Pulliam, Sr., Richardson, Plowden, Grier &amp; Howser, Columbia, S.C., for appellees.
      D.S.C.
      AFFIRMED.
      Before WIDENER, WILKINSON, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Boatwright v. Jefferson, No. CA-93-2-3-OBD (D.S.C. Oct. 7, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Appellant's motion for a stay of proceedings in this Court is denied
      
    
    